     Case 8:17-cv-01148-JVS-KES Document 10 Filed 08/06/17 Page 1 of 20 Page ID #:43



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      a Delaware Corporation & Richard Blech, an Individual.
7

8                               UNITED STATES DISTRICT COURT
9
                         FOR THE CENTRAL DISTRICT OF CALIFORNIA
10

11
      SECURE CHANNELS, INC., a California       )     CASE NO: 8:17-CV-1148
12    Corporation; SECURE CHANNELS INC., a      )
                                                )     FIRST AMENDED COMPLAINT OF
13    Delaware Corporation; Richard Blech, an   )
      Individual,                               )     SECURE CHANNELS INC, A
14           PLAINTIFFS,                        )     CALIFORNIA CORPORATION;
                                                )     SECURE CHANNELS INC., A
15                                              )     DELAWARE CORPORATION; AND
                    vs.                         )     RICHARD BLECH, AN INDIVIDUAL
16                                              )     FOR:
      ADRIAN PLESHA, an Individual;             )     1. FRAUDULENT INDUCEMENT;
17    ANTONELLI WOZNY PLESHA & CAMPA )                2. FRAUDULENT CONCEALMENT;
      LLC, a Florida, Limited Liability Company )     3. FRAUDULENT PROMISE WITHOUT
18                                              )     INTENT TO PERFORM;
      and DOES 1 through 100, inclusive,        )     4. NEGLIGENT MISREPRESENTATION;
19           DEFENDANTS.                        )     5. BREACH OF CONTRACT;6.
                                                )     SLANDER PER SE CALIFORNIA CIVIL
20                                              )     CODE § 46
                                                )
21                                              )
                                                )     JURY TRIAL DEMANDED
22                                              )
                                                )
23                  FIRST AMENDED COMPLAINT OF SECURE CHANNELS INC, A CALIFORNIA
24     CORPORATION; SECURE CHANNELS INC., A DELAWARE CORPORATION; AND RICHARD BLECH,
25                                        AN INDIVIDUAL FOR:
26                                    1. FRAUDULENT INDUCEMENT;
27                                   2. FRAUDULENT CONCEALMENT;
28                      3. FRAUDULENT PROMISE WITHOUT INTENT TO PERFORM;

                                  4. NEGLIGENT MISREPRESENTATION;

           5. BREACH OF CONTRACT;6. SLANDER PER SE CALIFORNIA CIVIL CODE § 46                 1
     Case 8:17-cv-01148-JVS-KES Document 10 Filed 08/06/17 Page 2 of 20 Page ID #:44



1              Comes now Plaintiffs Secure Channels Inc., a California Corporation, Secure Channels
2
      Inc., a Delaware Corporation and Richard Blech, an Individual (“PLAINTIFFS’), by and through
3
      their counsel of record herein, and for their Complaint against, and Does 1 through 100 inclusive,
4

5
      alleges as follows:

6                                                 I. JURISDICTION
7              1.     This Court has subject matter jurisdiction over the case pursuant to 28 U.S.C. §
8
      1332, as the parties are completely diverse and the amount in controversy exceeds $75,000
9
      exclusive of interest and costs.
10

11                                                    II. VENUE

12             2.     Venue in this District is proper pursuant to 28 U.S.C. § 1391, in that the
13
      defendants or their agents, or certain of them, reside or may be found here, a substantial part of
14
      the events giving rise to plaintiffs’ claims occurred here, and the defendants transact business
15
      here.
16

17                                                   III. PARTIES
18             3.     Plaintiff Secure Channels Inc., a California Corporation (hereinafter “SCIC”) is
19
      incorporated in the state of California and its principal place of business is located in California.
20
               4.     Plaintiff Secure Channels Inc., a Delaware Corporation (hereinafter “SCID”) is
21

22    incorporated in the state of Delaware and its principal place of business is located in California.

23                    FIRST AMENDED COMPLAINT OF SECURE CHANNELS INC, A CALIFORNIA
24     CORPORATION; SECURE CHANNELS INC., A DELAWARE CORPORATION; AND RICHARD BLECH,
25                                           AN INDIVIDUAL FOR:
26                                       1. FRAUDULENT INDUCEMENT;
27                                       2. FRAUDULENT CONCEALMENT;
28                          3. FRAUDULENT PROMISE WITHOUT INTENT TO PERFORM;

                                    4. NEGLIGENT MISREPRESENTATION;

              5. BREACH OF CONTRACT;6. SLANDER PER SE CALIFORNIA CIVIL CODE § 46                     2
     Case 8:17-cv-01148-JVS-KES Document 10 Filed 08/06/17 Page 3 of 20 Page ID #:45



1             5.      Plaintiff Richard Blech, an individual (hereinafter “BLECH”) is a citizen of
2
      California. BLECH is the President & CEO of SCIC and SCID.
3
              6.      Defendant Adrian Plesha (hereinafter “PLESHA”) is, upon information and
4

5
      belief, a citizen of Florida who resides at 1504 Bay Road, Apartment 1517, Miami Beach,

6     Florida and is a Partner & Senior Vice President Governmental Affairs of Antonelli Wosny
7     Plesha & Campa LLC. Plaintiff is informed and believes, and thereupon alleges, that PLESHA
8
      does substantial, continuous and systematic business in the State of California and in this judicial
9
      district.
10

11            7.      Defendant Antonelli Wozny Plesha & Campa LLC (hereinafter “AWPC”) is a

12    Florida limited liability company with its principal place of business either in Florida or
13
      Washington, D.C. AWPC purports to be a lobbying company. Plaintiff is informed and believes,
14
      and thereupon alleges, that AWPC does substantial, continuous and systematic business in the
15
      State of California and in this judicial district.
16

17            8.      Defendant AWPC has only one (1) member (Exhibit 3). Defendant Plesha is the
18    only member of AWPC (Exhibit 3). Defendant Plesha, is upon information and belief, a citizen
19
      of Florida with his principal place of business in Washington D.C.
20
              9.      The true names, conduct and capacities of Defendants sued as Does 1 through
21

22    100, inclusive, are presently unknown to Plaintiffs who, therefore, sues these Defendants by such

23                    FIRST AMENDED COMPLAINT OF SECURE CHANNELS INC, A CALIFORNIA
24     CORPORATION; SECURE CHANNELS INC., A DELAWARE CORPORATION; AND RICHARD BLECH,
25                                            AN INDIVIDUAL FOR:
26                                        1. FRAUDULENT INDUCEMENT;
27                                       2. FRAUDULENT CONCEALMENT;
28                        3. FRAUDULENT PROMISE WITHOUT INTENT TO PERFORM;

                                      4. NEGLIGENT MISREPRESENTATION;

            5. BREACH OF CONTRACT;6. SLANDER PER SE CALIFORNIA CIVIL CODE § 46                      3
     Case 8:17-cv-01148-JVS-KES Document 10 Filed 08/06/17 Page 4 of 20 Page ID #:46



1     fictitious names. Plaintiff will include these Doe Defendants’ true names and capacities when
2
      they are ascertained. Each of the fictitiously named Defendants is responsible in some manner,
3
      including, inter alia, as contributory infringers, aiders and abettors, co-conspirators, and/or
4

5
      agents for the conduct alleged herein and for the injuries suffered by Plaintiff.

6            10.     Plaintiff is informed and believes, and thereupon alleges that, at all times
7     mentioned herein, each and every Defendant was an agent, partner, representative, affiliate,
8
      employee, alter ego, or co-conspirator of each and every other Defendant, and in doing the things
9
      alleged herein, each and every Defendant was acting pursuant to such conspiracy and/or within
10

11    the course and scope of such agency, representation, affiliation, control or employment and was

12    acting with the consent, permission and authorization of the other Defendants (except where
13
      otherwise noted). Plaintiff is further informed and believes, and thereupon alleges, that each
14
      Defendant who joined a conspiracy after its formation ratified, adopted and is liable for all acts
15
      committed in furtherance of the conspiracy including those committed before such Defendant
16

17    joined the conspiracy.
18           11.     Whenever this Complaint refers to any act or acts of a Defendant, the reference
19
      shall also be deemed to mean that the directors, officers, employees, affiliates, controlling
20
      companies or agents of the responsible Defendants authorized such act while actively engaged in
21

22    the management, direction or control of the affairs of Defendant, and each of them, and/or by

23                   FIRST AMENDED COMPLAINT OF SECURE CHANNELS INC, A CALIFORNIA
24     CORPORATION; SECURE CHANNELS INC., A DELAWARE CORPORATION; AND RICHARD BLECH,
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26                                      1. FRAUDULENT INDUCEMENT;
27                                     2. FRAUDULENT CONCEALMENT;
28                       3. FRAUDULENT PROMISE WITHOUT INTENT TO PERFORM;

                                    4. NEGLIGENT MISREPRESENTATION;

           5. BREACH OF CONTRACT;6. SLANDER PER SE CALIFORNIA CIVIL CODE § 46                         4
     Case 8:17-cv-01148-JVS-KES Document 10 Filed 08/06/17 Page 5 of 20 Page ID #:47



1     persons who are the alter ego of Defendants, or while acting within the scope of their agency,
2
      affiliation, control or employment. Whenever this Complaint refers to any acts of the
3
      Defendants, the reference shall be deemed to be the act of each defendant, jointly and severally.
4

5
                                      IV. STATEMENT OF FACTS

6            12.     On or about October of 2014 Ross Harris (hereinafter “HARRIS”), Director of
7     Sales for SCIC & SCID had a conversation with his neighbor Defendant Adrian Plesha. During
8
      the conversation PLESHA inquired as to what HARRIS did for work. HARRIS replied that he
9
      was Director of Sales for a Cyber security firm. PLESHA then replied that he was a lobbyist.
10

11    PLESHA then stated that he could make SCIC “a lot of money.” PLESHA stated that he had

12    connections to Congressman and if SCIC would give perks to government officials then
13
      PLESHA could get them access to government contracts that would be worth millions of dollars
14
      to SCIC. PLESHA insisted that there was a “pay to play” game in Washington and everything
15
      was legal because PLESHA was a lobbyist. PLESHA stated that he attained access to
16

17    government contracts for many other companies. For example, one company PLESHA
18    mentioned was Sunflower Wind.
19
             13.     On or about December 22, 2014 PLESHA met with BLECH to discuss what
20
      PLESHA could do for SCIC. PLESHA then repeated all of the facts he stated to Ross Harris in
21

22    October of 2014. PLESHA stated he was a lobbyist. PLESHA stated his lobbying firm was

23                   FIRST AMENDED COMPLAINT OF SECURE CHANNELS INC, A CALIFORNIA
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26                                     1. FRAUDULENT INDUCEMENT;
27                                    2. FRAUDULENT CONCEALMENT;
28                      3. FRAUDULENT PROMISE WITHOUT INTENT TO PERFORM;

                                   4. NEGLIGENT MISREPRESENTATION;

           5. BREACH OF CONTRACT;6. SLANDER PER SE CALIFORNIA CIVIL CODE § 46                    5
     Case 8:17-cv-01148-JVS-KES Document 10 Filed 08/06/17 Page 6 of 20 Page ID #:48



1     Antonelli Wozny Plesha & Campa LLC. PLESHA indicated that he was a partner in the firm.
2
      PLESHA then stated that he could make SCIC “a lot of money.” PLESHA stated that he had
3
      connections to Congressman and if SCIC would give perks to government officials then
4

5
      PLESHA could get them access to government contracts that would be worth millions of dollars

6     to SCIC. PLESHA stated that the perks could be real property, money, gifts or anything of
7     monetary value. PLESHA insisted that there was a “pay to play” game in Washington and
8
      everything was legal because PLESHA was a lobbyist. PLESHA stated that he attained access to
9
      government contracts for many other companies through the “pay to play” scheme. For example,
10

11    one company PLESHA mentioned was Sunflower Wind. This meeting was attended by BLECH

12    and Dee Murphy, Chief Brand Officer of SCIC & SCID (hereinafter “MURPHY”). In addition,
13
      HARRIS attended part of the meeting.
14
             14.     On or about December 22, 2014, after the above referenced meeting PLESHA
15
      sent an email (EXHIBIT 1) to BLECH which offered a one-year agreement beginning January 1,
16

17    2015 for a fee of $7,000 per month. Also, $2,000 of the $7,000 monthly fee could be in some
18    form of company equity.
19
             15.     On or about December 22, 2014 BLECH responded to the offer by email (Exhibit
20
      2) stating that the proposal was acceptable with the contingency that BLECH would have to
21

22    work with legal counsel to structure the equity piece and put together the formal agreement.

23                   FIRST AMENDED COMPLAINT OF SECURE CHANNELS INC, A CALIFORNIA
24     CORPORATION; SECURE CHANNELS INC., A DELAWARE CORPORATION; AND RICHARD BLECH,
25                                         AN INDIVIDUAL FOR:
26                                     1. FRAUDULENT INDUCEMENT;
27                                    2. FRAUDULENT CONCEALMENT;
28                      3. FRAUDULENT PROMISE WITHOUT INTENT TO PERFORM;

                                   4. NEGLIGENT MISREPRESENTATION;

           5. BREACH OF CONTRACT;6. SLANDER PER SE CALIFORNIA CIVIL CODE § 46                     6
     Case 8:17-cv-01148-JVS-KES Document 10 Filed 08/06/17 Page 7 of 20 Page ID #:49



1                                               V. CAUSES OF ACTION
2
                                              FIRST CAUSE OF ACTION
3
                                                  (Fraudulent Inducement)
4

5
                                                  (Against all Defendants)

6            16.        Plaintiffs incorporate by reference paragraphs 1 through 14, inclusive, of the
7     Complaint as if fully set forth herein.
8
             17.        Defendant PLESHA, acting as an agent, partner, representative, affiliate,
9
      employee, alter ego, or co-conspirator of each and every other Defendant made several material
10

11    representations.

12                 a. PLESHA stated that he was a lobbyist in the firm Antonelli Wozny Plesha &
13
                        Campa LLC.
14
                   b.   PLESHA was a partner in AWPC.
15
                   c. PLESHA stated that he could make SCIC “a lot of money.”
16

17                 d. PLESHA stated that he had connections to Congressman.
18                 e. If SCIC would give perks to government officials then PLESHA could get them
19
                        access to government contracts that would be worth millions of dollars to SCIC.
20
                   f. PLESHA insisted that there was a “pay to play” game in Washington and
21

22                      everything was legal because PLESHA was a lobbyist.

23                      FIRST AMENDED COMPLAINT OF SECURE CHANNELS INC, A CALIFORNIA
24     CORPORATION; SECURE CHANNELS INC., A DELAWARE CORPORATION; AND RICHARD BLECH,
25                                              AN INDIVIDUAL FOR:
26                                        1. FRAUDULENT INDUCEMENT;
27                                       2. FRAUDULENT CONCEALMENT;
28                         3. FRAUDULENT PROMISE WITHOUT INTENT TO PERFORM;

                                      4. NEGLIGENT MISREPRESENTATION;

           5. BREACH OF CONTRACT;6. SLANDER PER SE CALIFORNIA CIVIL CODE § 46                        7
     Case 8:17-cv-01148-JVS-KES Document 10 Filed 08/06/17 Page 8 of 20 Page ID #:50



1                 g. PLESHA stated that he attained access to government contracts for many other
2
                     companies.
3
                  h. PLESHA stated that he had attained government contracts for Sunflower Wind.
4

5
            18.      All of the above representations, upon information and belief are false.

6                 a. AWPC was not registered in Washington D.C.
7                 b. AWPC was not an active LLC in Florida.
8
                  c. PLESHA was not a partner in AWPC, he was the sole managing member (Exhibit
9
                     3).
10

11                d. AWPC never performed any lobbying work.

12                e. PLESHA had no more connections to any members of Congress because of his
13
                     criminal convictions.
14
                  f. PLESHA had no way to attain government contracts for SCIC.
15
                  g. There was no “pay to play” or legal bribery that would allow SCIC to receive
16

17                   government contracts.
18                h. PLESHA had not obtained government contracts for other companies through this
19
                     “pay to play” scheme.
20
                  i. PLESHA had not obtained government contracts for Sunflower Wind through this
21

22                   “pay to play” scheme.

23                   FIRST AMENDED COMPLAINT OF SECURE CHANNELS INC, A CALIFORNIA
24     CORPORATION; SECURE CHANNELS INC., A DELAWARE CORPORATION; AND RICHARD BLECH,
25                                           AN INDIVIDUAL FOR:
26                                     1. FRAUDULENT INDUCEMENT;
27                                    2. FRAUDULENT CONCEALMENT;
28                         3. FRAUDULENT PROMISE WITHOUT INTENT TO PERFORM;

                                   4. NEGLIGENT MISREPRESENTATION;

           5. BREACH OF CONTRACT;6. SLANDER PER SE CALIFORNIA CIVIL CODE § 46                   8
     Case 8:17-cv-01148-JVS-KES Document 10 Filed 08/06/17 Page 9 of 20 Page ID #:51



1                 j. PLESHA pled guilty to felony charges of violating the Federal Election
2
                     Campaign Act and lying to the FEC.
3
            19.      Defendant PLESHA knew that the representations were false.
4

5
                  a. PLESHA knew the requirements of registering AWPC because in 2011 the

6                    company was registered as a Florida LLC, (Exhibit 3). However, the company
7                    was not registered at the time he represented that AWPC would perform lobbying
8
                     work.
9
                  b. PLESHA knew he was not a partner in AWPC, because he knew he was the sole
10

11                   managing member (Exhibit 3).

12                c. PLESHA knew he had no way to make SCIC any money because of his criminal
13
                     convictions could not perform lobbying work.
14
                  d. PLESHA knew he had no more connections to any members of Congress because
15
                     of his criminal convictions.
16

17                e. PLESHA knew he had no way to attain government contracts for SCIC.
18                f. PLESHA knew that there was no “pay to play” or legal bribery that would allow
19
                     for SCIC receiving government contracts.
20
                  g. PLESHA knew that he had not obtained government contracts for other
21

22                   companies through this “pay to play” scheme.

23                   FIRST AMENDED COMPLAINT OF SECURE CHANNELS INC, A CALIFORNIA
24     CORPORATION; SECURE CHANNELS INC., A DELAWARE CORPORATION; AND RICHARD BLECH,
25                                          AN INDIVIDUAL FOR:
26                                     1. FRAUDULENT INDUCEMENT;
27                                    2. FRAUDULENT CONCEALMENT;
28                       3. FRAUDULENT PROMISE WITHOUT INTENT TO PERFORM;

                                   4. NEGLIGENT MISREPRESENTATION;

           5. BREACH OF CONTRACT;6. SLANDER PER SE CALIFORNIA CIVIL CODE § 46                 9
     Case 8:17-cv-01148-JVS-KES Document 10 Filed 08/06/17 Page 10 of 20 Page ID #:52



1                   h. PLESHA knew that he had not obtained government contracts for Sunflower
2
                       Wind through this “pay to play” scheme.
3
              20.      Defendant PLESHA, acting as an agent, partner, representative, affiliate,
4

5
       employee, alter ego, or co-conspirator of each and every other Defendant made the false

6      representations with the express purpose and intent to defraud and induce SCIC through its
7      President & CEO BLECH to act on the offer made to perform lobbying services.
8
              21.      At the time, the PLAINTIFFS acted PLAINTIFFS did not know the
9
       representations were false and believed they were true. SCIC through its President & CEO
10

11     BLECH acted in justifiable reliance of the false information by sending an email coming to an

12     agreement in principle (Exhibit 2).
13
              22.      As a direct and proximate result thereof, PLAINTIFFS were damaged.
14
              23.      As a result of their conduct, defendants are liable to PLAINTIFFS for punitive
15
       damages
16

17                                           SECOND CAUSE OF ACTION
18                                                (Fraudulent Concealment)
19
              24.      Plaintiffs incorporate by reference paragraphs 1 through 22, inclusive, of the
20
       Complaint as if fully set forth herein.
21

22

23                     FIRST AMENDED COMPLAINT OF SECURE CHANNELS INC, A CALIFORNIA
24     CORPORATION; SECURE CHANNELS INC., A DELAWARE CORPORATION; AND RICHARD BLECH,
25                                               AN INDIVIDUAL FOR:
26                                       1. FRAUDULENT INDUCEMENT;
27                                       2. FRAUDULENT CONCEALMENT;
28                        3. FRAUDULENT PROMISE WITHOUT INTENT TO PERFORM;

                                     4. NEGLIGENT MISREPRESENTATION;

            5. BREACH OF CONTRACT;6. SLANDER PER SE CALIFORNIA CIVIL CODE § 46                     10
     Case 8:17-cv-01148-JVS-KES Document 10 Filed 08/06/17 Page 11 of 20 Page ID #:53



1             25.        Defendant PLESHA, acting as an agent, partner, representative, affiliate,
2
       employee, alter ego, or co-conspirator of each and every other Defendant concealed several
3
       material representations.
4

5
                    a. PLESHA stated that he was a lobbyist in the firm Antonelli Wozny Plesha &

6                        Campa LLC.
7                   b.   PLESHA stated he was a partner in AWPC.
8
                    c. PLESHA stated that he could make SCIC “a lot of money.”
9
                    d. PLESHA stated that he had connections to Congressman.
10

11                  e. PLESHA stated that if SCIC would give perks to government officials then

12                       PLESHA could get them access to government contracts that would be worth
13
                         millions of dollars to SCIC.
14
                    f. PLESHA stated that there was a “pay to play” game in Washington and
15
                         everything was legal because PLESHA was a lobbyist.
16

17                  g. PLESHA stated that he attained access to government contracts for many other
18                       companies.
19
                    h. PLESHA stated that he had attained government contracts for Sunflower Wind.
20
                    i. PLESHA concealed that he had pleaded guilty to making false statements to the
21

22                       Federal Election Commission. (hereinafter “FEC”).

23                       FIRST AMENDED COMPLAINT OF SECURE CHANNELS INC, A CALIFORNIA
24     CORPORATION; SECURE CHANNELS INC., A DELAWARE CORPORATION; AND RICHARD BLECH,
25                                             AN INDIVIDUAL FOR:
26                                         1. FRAUDULENT INDUCEMENT;
27                                        2. FRAUDULENT CONCEALMENT;
28                          3. FRAUDULENT PROMISE WITHOUT INTENT TO PERFORM;

                                       4. NEGLIGENT MISREPRESENTATION;

            5. BREACH OF CONTRACT;6. SLANDER PER SE CALIFORNIA CIVIL CODE § 46                       11
     Case 8:17-cv-01148-JVS-KES Document 10 Filed 08/06/17 Page 12 of 20 Page ID #:54



1                26.      All of the above representations, upon information and belief were false and
2
       concealed. Defendants were bound to disclose the true and additional material facts. Namely
3
       that:
4

5
                       a. AWPC was not registered in Washington D.C.

6                      b. AWPC was not an active LLC in Florida.
7                      c. AWPC never performed any lobbying work.
8
                       d. PLESHA pled guilty to felony charges of violating the Federal Election
9
                          Campaign Act and lying to the FEC.
10

11                     e. PLESHA had no way to attain government contracts for SCIC.

12                     f. PLESHA knew that there was no “pay to play” or legal bribery that would allow
13
                          for SCIC receiving government contracts.
14
                       g. PLESHA had not obtained government contracts for other companies through this
15
                          “pay to play” scheme.
16

17                     h. PLESHA had not obtained government contracts for Sunflower Wind through this
18                        “pay to play” scheme.
19
                       i. PLESHA concealed that he had pleaded guilty to making false statements to the
20
                          Federal Election Commission. (hereinafter “FEC”) which is related to his
21

22                        lobbying efforts.

23                        FIRST AMENDED COMPLAINT OF SECURE CHANNELS INC, A CALIFORNIA
24     CORPORATION; SECURE CHANNELS INC., A DELAWARE CORPORATION; AND RICHARD BLECH,
25                                                AN INDIVIDUAL FOR:
26                                            1. FRAUDULENT INDUCEMENT;
27                                            2. FRAUDULENT CONCEALMENT;
28                            3. FRAUDULENT PROMISE WITHOUT INTENT TO PERFORM;

                                        4. NEGLIGENT MISREPRESENTATION;

               5. BREACH OF CONTRACT;6. SLANDER PER SE CALIFORNIA CIVIL CODE § 46                    12
     Case 8:17-cv-01148-JVS-KES Document 10 Filed 08/06/17 Page 13 of 20 Page ID #:55



1             27.      Defendant PLESHA, acting as an agent, partner, representative, affiliate,
2
       employee, alter ego, or co-conspirator of each and every other Defendant concealed or
3
       suppressed material facts with the express purpose and intent to defraud and induce SCIC
4

5
       through its President & CEO BLECH to act on the offer made to perform lobbying services.

6             28.      At the time, the PLAINTIFFS acted PLAINTIFFS did not know the material facts
7      were concealed or suppressed. SCIC through its President & CEO BLECH would not have taken
8
       the action of sending an email coming to an agreement in principle (Exhibit 2).
9
              29.      As a direct and proximate result thereof, PLAINTIFFS were damaged.
10

11            30.      As a result of their conduct, defendants are liable to PLAINTIFFS for punitive

12     damages.
13
                                             THIRD CAUSE OF ACTION
14
                                       (Fraud Promise Without Intent to Perform)
15
                                                   (Against all Defendants)
16

17            31.      Plaintiffs incorporate by reference paragraphs 1 through 29, inclusive, of the
18     Complaint as if fully set forth herein.
19
              32.      Defendant PLESHA, acting as an agent, partner, representative, affiliate,
20
       employee, alter ego, or co-conspirator of each and every other promised to:
21

22                  a. PLESHA stated that he could make SCIC “a lot of money.”

23                     FIRST AMENDED COMPLAINT OF SECURE CHANNELS INC, A CALIFORNIA
24     CORPORATION; SECURE CHANNELS INC., A DELAWARE CORPORATION; AND RICHARD BLECH,
25                                               AN INDIVIDUAL FOR:
26                                       1. FRAUDULENT INDUCEMENT;
27                                       2. FRAUDULENT CONCEALMENT;
28                        3. FRAUDULENT PROMISE WITHOUT INTENT TO PERFORM;

                                     4. NEGLIGENT MISREPRESENTATION;

            5. BREACH OF CONTRACT;6. SLANDER PER SE CALIFORNIA CIVIL CODE § 46                     13
     Case 8:17-cv-01148-JVS-KES Document 10 Filed 08/06/17 Page 14 of 20 Page ID #:56



1                   b. If SCIC would give perks to government officials then PLESHA could get them
2
                       access to government contracts that would be worth millions of dollars to SCIC.
3
                    c. PLESHA insisted that there was a “pay to play” game in Washington and
4

5
                       everything was legal because PLESHA was a lobbyist.

6             33.      PLESHSA promise without any intention of performance was made with the
7      intent to defraud and induce PLAINTIFFS to rely upon it and to act to enter into a contract with
8
       DEFENDANTS. At the time PLAINTIFFS acted, PLAINTIFFS were unaware of Defendants
9
       intention not to perform the promise. PLAINTIFFS acted in justifiable reliance upon the
10

11     promise. Specifically:

12                  a. PLESHA could not perform the promise of making SCIC a lot of money because
13
                       he was a convicted felon who would be unable to perform lobbying services for
14
                       PLAINTIFFS.
15
                    b. AWPC could not perform any lobbying for PLAINTIFFS because AWPC was
16

17                     inactive in Florida since September of 2014 (Exhibit 3).
18                  c. AWPC was never registered in Washington D.C.
19
                    d. As further evidence of Defendants’ intention not to perform their promise
20
                       Defendants failed to register SCIC with the Clerk of the House of Representatives
21

22                     and the Secretary of the Senate as required by the The Lobbying Disclosure Act

23                     FIRST AMENDED COMPLAINT OF SECURE CHANNELS INC, A CALIFORNIA
24     CORPORATION; SECURE CHANNELS INC., A DELAWARE CORPORATION; AND RICHARD BLECH,
25                                           AN INDIVIDUAL FOR:
26                                       1. FRAUDULENT INDUCEMENT;
27                                      2. FRAUDULENT CONCEALMENT;
28                         3. FRAUDULENT PROMISE WITHOUT INTENT TO PERFORM;

                                     4. NEGLIGENT MISREPRESENTATION;

            5. BREACH OF CONTRACT;6. SLANDER PER SE CALIFORNIA CIVIL CODE § 46                     14
     Case 8:17-cv-01148-JVS-KES Document 10 Filed 08/06/17 Page 15 of 20 Page ID #:57



1                         of 1995 (2 U.S.C. §1601) although PLESHA claimed to have performed lobbying
2
                          activities for SCIC. PLESHA knew of this federal law because he previously
3
                          registered other companies that he purported to lobby for (Exhibit 4).
4

5
               34.        In justifiable reliance upon PLESHA’S conduct PLAINTIFFS were induced to

6      enter into a contract.
7              35.        As a direct and proximate result thereof, PLAINTIFFS were damaged.
8
               36.        As a result of their conduct, defendants are liable to PLAINTIFFS for punitive.
9
                                          FOURTH CAUSE OF ACTION
10

11                                          (Negligent Misrepresentation)

12                                             (Against all Defendants)
13
               37.        PLAINTIFFS incorporate by reference paragraphs 1 through 35, inclusive, of the
14
       Complaint as if fully set forth herein.
15
               38.        Defendants, in the course of its business, supplied material false information and
16

17     material omissions to PLAINTIFFS, defendants had no reasonable ground for believing them to
18     be true including:
19
                     a. PLESHA stated that he was a lobbyist in the firm Antonelli Wozny Plesha &
20
                          Campa LLC.
21

22                   b.   PLESHA stated he was a partner in AWPC.

23                        FIRST AMENDED COMPLAINT OF SECURE CHANNELS INC, A CALIFORNIA
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26                                          1. FRAUDULENT INDUCEMENT;
27                                         2. FRAUDULENT CONCEALMENT;
28                           3. FRAUDULENT PROMISE WITHOUT INTENT TO PERFORM;

                                        4. NEGLIGENT MISREPRESENTATION;

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     Case 8:17-cv-01148-JVS-KES Document 10 Filed 08/06/17 Page 16 of 20 Page ID #:58



1                   c. PLESHA stated that he could make SCIC “a lot of money.”
2
                    d. PLESHA stated that he had connections to Congressman.
3
                    e. PLESHA stated that if SCIC would give perks to government officials then
4

5
                       PLESHA could get them access to government contracts that would be worth

6                      millions of dollars to SCIC.
7                   f. PLESHA stated that there was a “pay to play” game in Washington and
8
                       everything was legal because PLESHA was a lobbyist.
9
                    g. PLESHA stated that he attained access to government contracts for many other
10

11                     companies.

12                  h. PLESHA stated that he had attained government contracts for Sunflower Wind.
13
                    i. PLESHA concealed that he had pleaded guilty to making false statements to the
14
                       Federal Election Commission. (hereinafter “FEC”).
15
              39.      PLAINTIFFS reasonably relied to its detriment on these statements in entering
16

17     into a agreement.
18            40.      As a direct and proximate result thereof, PLAINTIFFS were harmed by
19
       defendants’ negligent misrepresentations and omissions.
20

21

22

23                     FIRST AMENDED COMPLAINT OF SECURE CHANNELS INC, A CALIFORNIA
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27                                      2. FRAUDULENT CONCEALMENT;
28                         3. FRAUDULENT PROMISE WITHOUT INTENT TO PERFORM;

                                     4. NEGLIGENT MISREPRESENTATION;

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     Case 8:17-cv-01148-JVS-KES Document 10 Filed 08/06/17 Page 17 of 20 Page ID #:59



1                                            FIFTH CAUSE OF ACTION
2
                                                    (Breach of Contract)
3
                                                   (Against all Defendants)
4

5
              41.     Plaintiffs incorporate by reference paragraphs 1 through 39, inclusive, of the

6      Complaint as if fully set forth herein.
7             42.     SCIC and defendants entered into a proposed agreement whereby defendants were
8
       to perform lobbying for SCIC and SCIC were to pay $7,000 per month for one year.
9
              43.     Defendants breached the agreement with PLAINTIFFS by failing to perform any
10

11     lobbying work.

12            44.     As a direct and proximate result thereof, PLAINTIFFS were damaged.
13
                                         SIXTH CAUSE OF ACTION
14
                                   (Slander per se California Civil Code § 46)
15
                                             (Against all Defendants)
16

17            45.     PLAINTIFFS incorporate by reference paragraphs 1 through 43, inclusive, of the
18     Complaint as if fully set forth herein.
19
              46.     PLAINTIFFS are informed and believes that on or about February of 2015 at or
20
       around 150 Cleo Street, Laguna Beach, California PLESHA made the following defamatory
21

22

23                    FIRST AMENDED COMPLAINT OF SECURE CHANNELS INC, A CALIFORNIA
24     CORPORATION; SECURE CHANNELS INC., A DELAWARE CORPORATION; AND RICHARD BLECH,
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28                        3. FRAUDULENT PROMISE WITHOUT INTENT TO PERFORM;

                                     4. NEGLIGENT MISREPRESENTATION;

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     Case 8:17-cv-01148-JVS-KES Document 10 Filed 08/06/17 Page 18 of 20 Page ID #:60



1      statement about, of and concerning PLAINTIFFS that PLAINTIFFS are reneging on an
2
       agreement and PLAINTIFFS do not pay their bills. PLESHA made the statement to HARRIS.
3
              47.     HARRIS reasonably understood the statement referred to PLAINTIFFS and
4

5
       reasonably understood them to mean that PLAINTIFFS were either insolvent or untrustworthy.

6             48.     The aforesaid defamatory statement made allegedly by PLESHA was and is false
7      and not privileged. PLESHA made this statement knowing the falsity thereof or without using
8
       reasonable care to determine the truth or falsity thereof.
9
              49.     PLESHA made the statement with malice and with the intent to injure
10

11     PLAINTIFFS’ good name and reputation and to interfere with their employment in that

12     PLESHA harbored ill-will toward PLAINTIFFS.
13
              50.     The statement harmed PLAINTIFFS reputation, such a statement has a tendency
14
       to injure and has injured PLAINTIFFS in their occupation, their future business and employment
15
       prospects have been harmed.
16

17            51.     As a direct and proximate result thereof, PLAINTIFFS were damaged.
18

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23                    FIRST AMENDED COMPLAINT OF SECURE CHANNELS INC, A CALIFORNIA
24     CORPORATION; SECURE CHANNELS INC., A DELAWARE CORPORATION; AND RICHARD BLECH,
25                                            AN INDIVIDUAL FOR:
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28                        3. FRAUDULENT PROMISE WITHOUT INTENT TO PERFORM;

                                     4. NEGLIGENT MISREPRESENTATION;

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     Case 8:17-cv-01148-JVS-KES Document 10 Filed 08/06/17 Page 19 of 20 Page ID #:61



1                                            VI. REQUEST FOR RELIEF
2
               WHEREFORE, PLAINTIFFS demand judgment against defendants, jointly and
3
               severally, as follows:
4

5
               1.     For a declaratory judgment that the agreement was induced by fraud and is

6      therefore voidable at the option of PLAINTIFFS;
7              2.     Enter judgment in their favor and against all defendants on all Counts of the
8
       Complaint;
9
               3.     For actual damages, according to proof at trial,
10

11             4.     For punitive damages against defendants in whatever amount, exclusive of costs

12     and interest, that PLAINTIFFS are found to be entitled;
13
               5.     Award PLAINTIFFS their attorneys’ fees, costs, and pre-and post-judgment
14
       interest;
15
               and
16

17             6.     Grant such further relief as this court deems just and proper.
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20

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22

23                    FIRST AMENDED COMPLAINT OF SECURE CHANNELS INC, A CALIFORNIA
24     CORPORATION; SECURE CHANNELS INC., A DELAWARE CORPORATION; AND RICHARD BLECH,
25                                            AN INDIVIDUAL FOR:
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 Case 8:17-cv-01148-JVS-KES Document 10 Filed 08/06/17 Page 20 of 20 Page ID #:62



 1                                      Yrr. rlEMANp FOR{I RY TBrAL
 2
            PLAINTIFFS hereby request           a   jury tial on all issues raised inthis complaint.
 3

 4


 5
      Dated: August 6,   24fi                                                              LAWGROUP

 6                                                        By
 1
                                                                                   BENEI}ETTO
 B
                                                                                   for PLAINTIFFS

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23                  rIRST     AMENDED COMPLAINT OF SECURE CHANNELS                 INC, A   CALIFORNIA
24    CORPORATION; SECURE CHANNELS              INC., A     DELAWARE CORPORATION; AND RICHARD BLECH'

25                                              AN INDIVIDUAL        FOR:

26                                      L   .   FRAUDULENT INDUCEMENT;

27                                      2   .   FRAUDULENT CONCEALMENT;

28                       3.   TRAUDULENT PROMISE WITHOUT INTENT TO PERTORM;

                                   4.   NEGLIGENT MISREPRESENTATION;

          5.   BREACH OF CONTRACT;6. SLANDER PER SE CALIFORNIA                     CIVIL   CODE   S 46   20
